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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          HELENA DIVISION

 DONALD J. TRUMP FOR
 PRESIDENT, INC., REPUBLICAN
 NATIONAL COMMITTEE,
 NATIONAL REPUBLICAN
 SENATORIAL COMMITTEE;                        Case No. 6:20-cv-00066-H-DLC
 MONTANA REPUBLICAN STATE
 CENTRAL COMMITTEE,                           (Consolidated with
                                              Case No. 6:20-cv-00067-H-DLC)
                                Plaintiffs,
 and

 GREG HERTZ, in his official capacity as      DEFENDANT
 Speaker of the Montana House of              GOVERNOR BULLOCK’S
 Representatives; SCOTT SALES, in his         MOTION TO STRIKE
 official capacity as President of the
 Montana Senate, on behalf of the
 Majorities of the Montana House of
 Representative and Montana Senate,
      Case 6:20-cv-00066-DLC Document 107 Filed 09/24/20 Page 2 of 4




                     Intervenor-Plaintiffs,
vs.

STEVE BULLOCK, in his official
capacity as Governor of Montana;
COREY STAPLETON, in his official
capacity as Secretary of State of Montana

                              Defendants,
and

DSCC; DCCC; and MONTANA
DEMOCRATIC PARTY,

                  Intervenor-Defendants.
JOE LAMM, Ravalli County Republican
Central Committee, JEFF WAGNER,
SYLVIA WATNER, FIONA NAVE,
BRENT NAVE,

                                 Plaintiffs,
v.

STEPHEN BULLOCK, in his official
capacity as Governor of Montana;
COREY STAPLETON, in his official
capacity as Secretary of State of Montana,

                              Defendants.
        Case 6:20-cv-00066-DLC Document 107 Filed 09/24/20 Page 3 of 4




      Defendant Governor Steve Bullock moves to strike Plaintiff-Intervenors’

Notice of Filing Exhibits, Dkt. 106, and the attached Declaration of Greg Hertz, Dkt.

106-1. This motion is made for the reasons stated in the Governor’s supporting brief,

filed concurrently with this motion.

      All parties have been apprised of Governor Bullock’s intent to file this motion.

Plaintiff-Intervenors Greg Hertz and Scott Sales oppose the motion. The other parties

have not responded with their position.

                                       Respectfully submitted,
                                       /s/ Raphael Graybill
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September 24, 2020                     Attorneys for Governor Steve Bullock




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        Case 6:20-cv-00066-DLC Document 107 Filed 09/24/20 Page 4 of 4




                            CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2020, I electronically filed this brief in

support of the plaintiffs’ motion for summary judgment through this Court’s CM/ECF

system. I understand that notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system.

                                          /s/ Raphael Graybill
                                          Raphael Graybill




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